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 1                                                   THE HONORABLE RICARDO S. MARTINEZ

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 5
                                UNITED STATES DISTRICT COURT
 6                             WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
 7
     UNITED STATES FIRE INSURANCE                             IN ADMIRALTY
 8   COMPANY, et al.,
                                                              NO. 2:20-cv-00401-RSM
 9                           Plaintiffs/Counterclaim
                             Defendants,                      AGREEMENT REGARDING
10                                                            DISCOVERY OF ELECTRONICALLY
             v.                                               STORED INFORMATION AND
11                                                            ORDER
     ICICLE SEAFOODS, INC., et al.,
12                                                            NOTE ON MOTION CALENDAR:
                             Defendants/Counterclaim          NOVEMBER 5, 2020
13                           Plaintiffs.
14

15          The parties hereby stipulate to the following provisions regarding the discovery of

16   electronically stored information (“ESI”) in this matter:

17   A.     General Principles

18          1.      An attorney’s zealous representation of a client is not compromised by

19   conducting discovery in a cooperative manner. The failure of counsel or the parties to litigation

20   to cooperate in facilitating and reasonably limiting discovery requests and responses raises

21   litigation costs and contributes to the risk of sanctions.

22          2.      As provided in LCR 26(f), the proportionality standard set forth in Fed. R. Civ.

23   P. 26(b)(1) must be applied in each case when formulating a discovery plan. To further the

24   application of the proportionality standard in discovery, requests for production of ESI and

25   related responses should be reasonably targeted, clear, and as specific as possible.

26

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 1          B.      ESI Disclosures

 2          Within 30 days of entry of this Order, or at a later time if agreed to by the parties, each

 3   party shall disclose:

 4          1.      Custodians. The five custodians most likely to have discoverable ESI in their

 5   possession, custody, or control. The custodians shall be identified by name, title, connection

 6   to the instant litigation, and the type of the information under the custodian’s control.

 7          2.      Non-custodial Data Sources. A list of non-custodial data sources (e.g., shared

 8   drives, servers), if any, likely to contain discoverable ESI.

 9          3.      Third-Party Data Sources. A list of third-party data sources, if any, likely to

10   contain discoverable ESI (e.g., third-party email providers, mobile device providers, cloud

11   storage) and, for each such source, the extent to which a party is (or is not) able to preserve

12   information stored in the third-party data source.

13          4.      Inaccessible Data. A list of data sources, if any, likely to contain discoverable

14   ESI (by type, date, custodian, electronic system or other criteria sufficient to specifically

15   identify the data source) that a party asserts is not reasonably accessible under Fed. R. Civ. P.

16   26(b)(2)(B).

17   C.     ESI Discovery Procedures

18          1.      On-site inspection of electronic media. Such an inspection shall not be required

19   absent a demonstration by the requesting party of specific need and good cause or by

20   agreement of the parties.

21          2.      Search methodology. The parties shall timely confer to attempt to reach

22   agreement on appropriate search terms and queries, file type and date restrictions, data sources

23   (including custodians), and other appropriate computer- or technology-aided methodologies,

24   before any such effort is undertaken. The parties shall continue to cooperate in revising the

25   appropriateness of the search methodology.

26

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 1                  a.      Prior to running searches:

 2                          i.     The producing party shall disclose the data sources (including

 3   custodians), search terms and queries, any file type and date restrictions, and any other

 4   methodology that it proposes to use to locate ESI likely to contain responsive and discoverable

 5   information. The producing party may provide unique hit counts for each search query.

 6                          ii.    The requesting party is entitled to, within 14 days of the

 7   producing party’s disclosure, add no more than 10 search terms or queries to those disclosed

 8   by the producing party absent a showing of good cause or agreement of the parties.

 9                          iii.   The following provisions apply to search terms / queries of the

10   requesting party. Focused terms and queries should be employed; broad terms or queries, such

11   as product and company names, generally should be avoided. A conjunctive combination of

12   multiple words or phrases (e.g., “computer” and “system”) narrows the search and shall count

13   as a single search term. A disjunctive combination of multiple words or phrases (e.g.,

14   “computer” or “system”) broadens the search, and thus each word or phrase shall count as a

15   separate search term unless they are variants of the same word. The producing party may

16   identify each search term or query returning overbroad results demonstrating the overbroad

17   results and a counter proposal correcting the overbroad search or query. A search that returns

18   more than 250 megabytes of data, excluding Microsoft PowerPoint files, audio files, and

19   similarly large file types, is presumed to be overbroad.

20                  b.      After production: Within 21 days of the producing party notifying the

21   receiving party that it has substantially completed the production of documents responsive to

22   a request, the responding party may request no more than 10 additional search terms or queries.

23   The immediately preceding section (Section C(2)(a)(iii)) applies.

24          3.      Format.

25                  a.      ESI will be produced to the requesting party with searchable text, in a

26   format to be decided between the parties. Acceptable formats include, but are not limited to,

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 1   native files, multi-page TIFFs (with a companion OCR or extracted text file), single-page

 2   TIFFs (only with load files for e-discovery software that includes metadata fields identifying

 3   natural document breaks and also includes companion OCR and/or extracted text files), and

 4   searchable PDF.

 5                  b.      Unless otherwise agreed to by the parties, files that are not easily

 6   converted to image format, such as spreadsheet, database, and drawing files, will be produced

 7   in native format.

 8                  c.      Each document image file shall be named with a unique number (Bates

 9   Number). File names should not be more than twenty characters long or contain spaces. When

10   a text-searchable image file is produced, the producing party must preserve the integrity of the

11   underlying ESI, i.e., the original formatting, the metadata (as noted below) and, where

12   applicable, the revision history.

13                  d.      If a document is more than one page, the unitization of the document

14   and any attachments and/or affixed notes shall be maintained as they existed in the original

15   document.

16          4.      De-duplication. The parties may de-duplicate their ESI production across

17   custodial and non-custodial data sources after disclosure to the requesting party, and the

18   duplicate custodian information removed during the de-duplication process tracked in a

19   duplicate/other custodian field in the database load file.

20          5.      Email Threading. The parties may use analytics technology to identify email

21   threads and need only produce the unique most inclusive copy and related family members

22   and may exclude lesser inclusive copies. Upon reasonable request, the producing party will

23   produce a less inclusive copy.

24          6.      Metadata fields. If the requesting party seeks metadata, the parties agree that

25   only the following metadata fields need be produced, and only to the extent it is reasonably

26   accessible and non-privileged: document type; custodian and duplicate custodians (or storage

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 1   location if no custodian); author/from; recipient/to, cc and bcc; title/subject; email subject; file

 2   name; file size; file extension; original file path; date and time created, sent, modified and/or

 3   received; and hash value. The list of metadata type is intended to be flexible and may be

 4   changed by agreement of the parties, particularly in light of advances and changes in

 5   technology, vendor, and business practices.

 6           7.      Hard-Copy Documents. If the parties elect to produce hard-copy documents in

 7   an electronic format, the production of hard-copy documents will include a cross-reference file

 8   that indicates document breaks and sets forth the custodian or custodian/location associated

 9   with each produced document. Hard-copy documents will be scanned using Optical Character

10   Recognition technology and searchable PDF or ASCII text files will be produced (or Unicode

11   text format if the text is in a foreign language), unless the producing party can show that the

12   cost would outweigh the usefulness of scanning (for example, when the condition of the paper

13   is not conducive to scanning and will not result in accurate or reasonably useable/searchable

14   ESI). Each file will be named with a unique Bates Number (e.g., the unique Bates Number of

15   the first page of the corresponding production version of the document followed by its file

16   extension).

17   D.      Preservation of ESI

18           The parties acknowledge that they have a common law obligation, as expressed in Fed.

19   R. Civ. P. 37(e), to take reasonable and proportional steps to preserve discoverable information

20   in the party’s possession, custody, or control. With respect to preservation of ESI, the parties

21   agree as follows:

22           1.      Absent a showing of good cause by the requesting party, the parties shall not

23   be required to modify the procedures used by them in the ordinary course of business to back-

24   up and archive data; provided, however, that the parties shall preserve all discoverable ESI in

25   their possession, custody, or control.

26

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 1          2.      The parties will supplement their disclosures in accordance with Fed. R. Civ.

 2   P. 26(e) with discoverable ESI responsive to a particular discovery request or mandatory

 3   disclosure where that data is created after a disclosure or response is made (unless excluded

 4   under Sections (D)(3) or (E)(1)-(2)).

 5          3.      Absent a showing of good cause by the requesting party, the following

 6   categories of ESI need not be preserved:

 7                  a.     Deleted, slack, fragmented, or other data only accessible by forensics.
 8                  b.     Random access memory (RAM), temporary files, or other ephemeral
                           data that are difficult to preserve without disabling the operating
 9                         system.
10
                    c.     On-line access data such as temporary internet files, history, cache,
11                         cookies, and the like.

12                  d.     Data in metadata fields that are frequently updated automatically, such
                           as last-opened dates (see also Section (E)(5)).
13
                    e.     Back-up data that are duplicative of data that are more accessible
14                         elsewhere.
15
                    f.     Server, system or network logs.
16
                    g.     Data remaining from systems no longer in use that is unintelligible on
17                         the systems in use.

18                  h.     Electronic data (e.g., email, calendars, contact data, and notes) sent to
                           or from mobile devices (e.g., iPhone, iPad, Android devices), provided
19                         that a copy of all such electronic data is automatically saved in real
                           time elsewhere (such as on a server, laptop, desktop computer, or
20
                           “cloud” storage).
21   E.     Privilege
22          1.      A producing party shall create a privilege log of all documents fully withheld
23   from production on the basis of a privilege or protection, unless otherwise agreed or excepted
24   by this Agreement and Order. Privilege logs shall include a unique identification number for
25   each document and the basis for the claim (attorney-client privileged or work-product
26   protection). For ESI, the privilege log may be generated using available metadata, including

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 1   author/recipient or to/from/cc/bcc names; the subject matter or title; and date created. Should

 2   the available metadata provide insufficient information for the purpose of evaluating the

 3   privilege claim asserted, the producing party shall include such additional information as

 4   required by the Federal Rules of Civil Procedure. Privilege logs will be produced to all other

 5   parties no later than 30 days after delivering a production unless an earlier deadline is agreed

 6   to by the parties.

 7           2.      Redactions need not be logged so long as the basis for the redaction is clear on

 8   the redacted document.

 9           3.      With respect to privileged or work-product information generated after the

10   filing of the complaint, parties are not required to include any such information in privilege

11   logs.

12           4.      Activities undertaken in compliance with the duty to preserve information are

13   protected from disclosure and discovery under Fed. R. Civ. P. 26(b)(3)(A) and (B).

14           5.      Pursuant to Fed. R. Evid. 502(d), the production of any documents in this

15   proceeding shall not, for the purposes of this proceeding or any other federal or state

16   proceeding, constitute a waiver by the producing party of any privilege applicable to those

17   documents, including the attorney-client privilege, attorney work-product protection, or any

18   other privilege or protection recognized by law. Information produced in discovery that is

19   protected as privileged or work product shall be immediately returned to the producing party,

20   and its production shall not constitute a waiver of such protection.

21           Dated this 5th day of November, 2020.

22                                                     BAUER MOYNIHAN & JOHNSON LLP

23                                                     /s Matthew C. Crane
                                                       Matthew C. Crane, WSBA No. 18003
24

25                                                     /s Robert D. Sykes
                                                       Robert D. Sykes, WSBA No. 49635
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 1                                                  defendants United States Fire Insurance
                                                    Company, National Union Fire Insurance
 2
                                                    Company of Pittsburgh, PA, Great American
 3                                                  Insurance Company of New York, Argonaut
                                                    Insurance Company, Endurance American
 4                                                  Insurance Company, Houston Casualty
                                                    Company, and Certain Underwriters at
 5                                                  Lloyd’s, London
 6
            Dated this 5th day of November, 2020.
 7
                                                    MULLIN, ALLEN & STEINER, PLLC
 8

 9                                                  s/ Timothy E. Allen (per email authorization)
                                                    Daniel F. Mullin, WSBA No. 12768
10                                                  Timothy E. Allen, WSBA No. 35337
                                                    Attorneys for defendants/counterclaim
11                                                  plaintiffs Icicle Seafoods, Inc. and
12                                                  ISVesselCo, Inc.

13

14
                                             ORDER
15
            Based on the foregoing, IT IS SO ORDERED.
16

17          DATED: November 6, 2020.
18

19

20
                                                A
                                                RICARDO S. MARTINEZ
                                                CHIEF UNITED STATES DISTRICT JUDGE
21

22
     Presented by:
23

24   BAUER MOYNIHAN & JOHNSON LLP
25
     /s Matthew C. Crane
26   Matthew C. Crane, WSBA No. 18003

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